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                                                                                             Randall W. Jackson
                                                                                             212 728 8216
                                                                                             rjackson@willkie.com

                                                                                             787 Seventh Avenue
                                                                                             New York, NY 10019-6099
                                                                                             Tel: 212 728 8000
                                                                                             Fax: 212 728 8111




June 24, 2019

VIA ECF




The Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

Re:    United States v. Amanat, 15 Cr. 536 (PGG)

Dear Judge Gardephe:

               This letter is respectfully submitted on behalf of defendant Omar Amanat to alert the
Court to new authority relevant to the pending Rule 29 and 33 motions. Cf. Fed. R. App. Proc. 28(j).
On June 13, 2019, the Second Circuit issued a decision in Bascuñán v. Elsaca, --- F.3d ----, 2019 WL
2455168 (2d Cir. Jun. 13, 2019). In Bascuñán, a civil RICO suit, the Court of Appeals clarified
significant ambiguity surrounding the criminal wire fraud statute, explaining:

                There are three “essential elements” to mail or wire fraud: “(1) a scheme
                to defraud, (2) money or property as the object of the scheme, and (3)
                use of the mails or wires to further the scheme.” Weaver, 860 F.3d at 94
                (citation omitted, emphasis added). These elements make clear that the
                regulated conduct is not merely a “scheme to defraud,” but more
                precisely the use of the mail or wires in furtherance of a scheme to
                defraud.

                Bascuñán, 2019 WL 2455168 at *10 (emphasis in original). Because it observed that
the use of the wires in furtherance of the scheme is the essence of the regulated conduct, the Second
Circuit held in Bascuñán that “a claim predicated on mail or wire fraud involves sufficient domestic
conduct when (1) the defendant used domestic mail or wires in furtherance of a scheme to defraud, and



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(2) the use of the mail or wires was a core component of the scheme to defraud.” Id. (emphasis
added).

                On December 18, 2018, Your Honor issued an Order requiring the Government to
supplement its briefing on the issue raised by Mr. Amanat’s argument that the Government had failed
to identify any interstate wire contemplated or sent in furtherance of Counts One and Two. As detailed
in Mr. Amanat’s January 3, 2019 Response in Opposition, the Government’s supplemental submission
failed to meaningfully address any of the complex issues raised by its failure to introduce sufficient
evidence on this point, and indeed failed even to follow the Court’s explicit instructions in its Order
directing the Government “cit[e] evidence from the record demonstrating that the interstate wire
element is satisfied.” The Government did wander further into the legal error that it originally
advanced in its opposition to the motion for judgment of acquittal, i.e., the notion that the wire in this
case was incidental to the charged conduct and that the Court could therefore essentially disregard the
Government’s failure to introduce for both Counts One and Two proof that that an interstate wire in
furtherance of the conspiracy was either sent, reasonably foreseeable, or contemplated, which was
transmitted across state lines either from or into the Southern District of New York.

                Bascunan puts the lie to this notion, by emphasizing that the transmission of the wire in
a wire fraud scheme is not incidental, but rather is the central regulated conduct. See Bascunan, 2019
WL 2455168 at *10 (“the regulated conduct is not merely a ‘scheme to defraud,’ but more precisely
the use of the mail or wires in furtherance of a scheme to defraud”) (citing Badders v. Unite States, 240
U.S. 391, 393, 36 S.Ct. 367, 60 L.Ed. 706 (1916) (Holmes, J.) (rejecting an argument that the use of
mail was “a mere incident of a fraudulent scheme that itself is outside the jurisdiction of Congress to
deal with,” because “[t]he overt act of putting a letter into the post office of the United States is a
matter that Congress may [and did] regulate”); United States v. Garlick, 240 F.3d 789, 792 (9th Cir.
2001) (“The focus of the mail and wire fraud statutes is upon the misuse of the instrumentality of
communication.”); United States v. Jefferson, 674 F.3d 332, 366 (4th Cir. 2012) (“In a mail or wire
fraud prosecution, the mailing or wire transmission itself—ˆ misuse of the mail or wire—has
consistently been viewed as the actus reus that is punishable by federal law.”); United States v. Driver,
692 F. App'x 448, 449 (9th Cir. 2017) (summary order), cert. denied, ––– U.S. ––––, 138 S. Ct.
(same)).




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                That the Circuit has clarified that the actus reus of wire fraud is the transmission of the
wire underscores: (1) that the Government’s venue arguments are incorrect; (2) that the Government
offered grossly insufficient evidence on the wire fraud counts; and (3) the Government’s hiding of the
ball and improper introduction of a new wire fraud theory only in rebuttal summation requires a new
trial. Mr. Amanat has now been detained for a year and a half since the conclusion of the trial. This
recent precedent only further demonstrates what has been clear since the Government moved to reopen
its case immediately after the defense filed its Rule 29 motion: the Government failed to introduce
sufficient evidence and the defense motions should be immediately granted. The undersigned is, of
course, available at any time if the Court has any questions or concerns.



Respectfully
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Randall
R       W. JJackson
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cc: All Counsel




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